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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO
                              The Honorable Michael E. Romero


 In re:
                                                  Case No. 15-22647 MER
 TRIPTELEVISION, LLC
                                                  Chapter 7
      Debtor.

 DAVID V. WADSWORTH, CHAPTER 7                    Adversary No. 17-1532 MER
 TRUSTEE

      Plaintiff,

 v.

 RICH MEDIA EXCHANGE, LLC,
 STREAMSIDE PRODUCTIONS, LLC,
 KULIN STRIMBU

      Defendants.

                                             ORDER

      THIS MATTER comes before the Court on the Plaintiff's Complaint and
Defendants' Answer. The Court, having reviewed the file and being advised in the
premises,

        ORDERS AS FOLLOWS:


1.      Pursuant to Rule 7026, FED.R.BANKR.P., Rule 26, FED.R.CIV.P. and L.B.R.
        7026-1, counsel shall, on or before January 17, 2018,

        a.         Confer and discuss, pursuant to Rule 7026, FED.R.BANKR.P., and Rule
                   26(f) FED.R.CIV.P.,

                   i.     the nature and basis of their claims and defenses;
                   ii.    the possibilities for a prompt settlement or resolution of the
                          case.

        b.         Complete all initial disclosures required by Rule 26(1)(1), FED.R.CIV.P.

        c.         Develop a specific and firm discovery schedule and plan. This
                   discovery plan should
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             i.     contain firm deadlines for completion of discovery and a date to
                    file dispositive motions; and
             ii.    address any pertinent matters and identify anticipated problems
                    identified in Rule 16(b) and (c), FED.R.CIV.P.

      d.     Submit a written report to the Court, on or before January 31, 2018,
             which includes proposals for the following, or otherwise notify this
             Court by written report filed on or before the above date that the
             parties have resolved the issues in the within adversary proceeding
             and that a settlement and/or dismissal is imminent:

             i.     Amended pleadings shall be filed and/or additional parties shall
                    be joined by ________________.
             ii.    Parties will provide expert disclosure under Rule 26(a)(2)
                    FED.R.CIV.P. by ___________________, and rebuttal expert
                    disclosures under Rule 26(a)(2)(B) FED.R.CIV.P. by
                    _____________. Expert discovery shall be completed by
                    _________________.
             iii.   All fact discovery shall be completed by _____________.
             iv.    Dispositive motions shall be filed by _________________.

      Submission of the report will serve as certification that all initial required
      disclosures, pursuant to Rule 7026(a), FED.R.CIV.P., have been fully and
      timely completed.

2.    The parties shall commence discovery immediately after their Rule 26(f)
      meeting, referenced in paragraph 2(a) above, is concluded.

      Failure of the parties, or a party, to comply with or otherwise
      respond to this Order, may result in the imposition of sanctions,
      dismissal of the within proceeding, or entry of judgment, if
      warranted and appropriate.

      IT IS FURTHER ORDERED that a trial scheduling conference will be set, if
necessary, after expiration of all pretrial deadlines and after the Court has ruled
upon any dispositive motions, or upon request of the parties.

 Dated: December 27, 2017                    BY THE COURT:



                                             _________________________
                                             Michael E. Romero, Chief Judge
                                             United States Bankruptcy Court
